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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re:                                                         :
                                                               :   Chapter 13
Oluchi Nwokocha aka Oluchi Nwanganga                           :
                                                               :   Case No. 19-22047
                           Debtor.                             :
---------------------------------------------------------------x

      DECLARATION OF NICOLE E. SCHIAVO IN LIMITED OPPOSITION TO
    DEBTOR’S MOTION FOR TURNOVER AND USE OF INSURANCE PROCEEDS

I, Nicole E. Schiavo, declare as follows:

        1.       I am admitted to practice before this Court and associated with the firm of Hogan

Lovells US LLP, counsel for creditor, CIT Bank, N.A (“CIT”). I am fully familiar with the facts

set forth herein.       I respectfully submit this declaration in limited opposition to Olouchi

Nwokocha a/k/a Oluchi Nwanganga’s (“Debtor”) “Application Pursuant to 11 U.S.C. §§541-543

for Turnover of Insurance Proceeds and All Funds Being Held by Allstate Indemnity Company

(“Allstate”) and Pursuant to 11 U.S.C. §§ 361, 362, 363 Authorizing the Debtor’s Use of Such

Funds to Rebuild and to Maintain Equity in Property Located at 41 Summit Park Road, New

Hempstead, NY 10977” (the “Motion”).

        2.       CIT’s servicer, LoanCare has a process pursuant to which Debtor may submit a

check for insurance proceeds for approval and processing. As reflected in the attached “How to

File a Claim,” Debtor can contact the “Loss Draft (Insurance Claims) Department at 1-866-822-

3434 or visit www.insuranceclaimcheck.com to share the claim information that was provided to

[by her] insurance agent [and] [m]ail [the] loss draft check and documentation [] as follows:

Regular Mail: ATTN: Loss Draft (Insurance Claims) Department, P.O. Box 202014, Florence,

SC 29502-2014, Overnight Mail: ATTN: Loss Draft (Insurance Claims) Department, 1323

Celebration Boulevard, Florence, SC 29501. See “How to File a Claim” attached as Exhibit A.


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       3.      Upon receipt and processing of proceeds and documentation from the Debtor,

LoanCare, on behalf of CIT, will apply and disburse the insurance proceeds pursuant to the

Mortgage agreement, which specifies that unless CIT and the Debtor otherwise agree in writing,

“any insurance proceeds . . . will be used to repair or to restore the damage to the property,” and

that CIT “may hold any Insurance Proceeds until it has had an opportunity to inspect the

Property to verify the repair work has been completed to Lender’s satisfaction.” See Section 5 of

the Mortgage, attached hereto as Exhibit B.

       4.      The insurance proceeds, however, are secured by the Mortgage and any remaining

proceeds would be applied pursuant to Section 2 of the Mortgage, to amounts owing to CIT. See

Ex B at § 2. Only if insurance proceeds remain after repairs are completed to CIT’s satisfaction

and repayment of amounts outstanding to CIT would the insurance proceeds be paid to Debtor.

See Ex. B at § 5.

       5.      Provided Debtor follows proper procedure for filing the insurance claim and the

claim is processed, CIT has no objection to the insurance proceeds being used to repair the

property. Any claim Debtor or her attorney purport to have in the insurance proceeds for any

other purpose, however, is subject to CIT’s lien, as evidenced by the Mortgage.

       6.      Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury under the laws

of the United States of America and the State of New York that the foregoing is true and correct.



Executed in New York, New York on May 8, 2019



                                                                    /s/_Nicole E. Schiavo____
                                                                    Nicole E. Schiavo




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